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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK
______________________________________
JOHN DOE,                                 ) Index No. 1:20-00008 (LEK/ATB)
                                          )
                               Plaintiff, )
                                          )
                                          )        COMPLAINT
                                          )
                                          )
SKIDMORE COLLEGE,                         )
                                          )
                                          ) JURY TRIAL DEMANDED
                        Defendant(s).
                                          )
                                          )
                                          )
                                          )


       Plaintiff John Doe (“John Doe” or “Plaintiff”—a pseudonym), by his attorneys,

The Kaplan Law Office of New York New York, for his complaint against defendant

Skidmore College (“Skidmore” or “Defendant”), alleges as follows:


                               PRELIMINARY STATEMENT

       1.     This is an action in which Plaintiff seeks damages for injuries sustained as

a result of the Defendant’s violation of his rights as secured by Title IX of the Education

Amendments of 1972. Plaintiff also sues in contract pursuant to pendent State claims.

Plaintiff seeks damages and injunctive relief from the unlawful actions taken and

procedures employed by Defendant and its agents that resulted in a wrongful three-year

suspension of Plaintiff during his graduating semester, with an additional concurrent year

of suspension for an undated incident that allegedly took place during his freshman year.

This three-year suspension was the result of a rigged and unfair disciplinary process put

in place to reach a pre-determined gender biased result with deliberate disregard for the

consequences to Plaintiff, in violation of both state and federal law. As a direct result of

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Skidmore’s gender discrimination and hostile education environment in violation of the

requirements of Title IX of the Education Amendments of 1972 and applicable State law,

as well as a breach of Skidmore’s own codes and policies, Plaintiff has suffered severe

emotional distress and damage to his reputation. Moreover, Plaintiff has been accepted

to begin a master’s program at a prestigious university which began August 2019 and the

opportunity will be lost as a result of Skidmore’s actions jeopardizing his career path and

future income. Plaintiff seeks damages, compensatory and punitive, equitable relief, an

award of costs and attorney’s fees and such other and further relief as this Court deems

equitable and just.

                                    JURISDICTION

       2.       Jurisdiction is conferred upon this Court by 28 U.S.C. §§ 1331, 1343,

1343(a)(3) and (4), as Plaintiff states claims arising under the Constitution and laws of

the United States, including Title IX of the Education Amendments of 1972, 20 U.S.C. §§

1681-88.

       3.       Any claims for declaratory and injunctive relief are authorized by 28 U.S.C.

§§2201 and 2202 and Rules 57 and 65(a) of the Federal Rules of Civil Procedure.

       4.       The Plaintiffs further invoke this Court’s supplemental jurisdiction,

pursuant to 28 U.S.C. §1367(a) over any and all state law claims and as against all parties

that are so related to claims in this action within the original jurisdiction of this Court that

they form part of the same case or controversy. Jurisdiction of this court for the pendent

claims is authorized by F. R. Civ. P. 18(a) and arises under the doctrine of pendent

jurisdiction.

       5.       The Plaintiff respectfully demands a trial by jury on each and every one of

the claims as pleaded herein.



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                                        VENUE

       6.     Venue is proper for the United States District Court for the Northern

District of New York pursuant to 28 U.S.C. §1391(a), (b) and (c) and §1402 (b) because

the claims arose in this district.

                                       PARTIES

       7.     Plaintiff resides in Washington, D.C. and was a full-time student at

Skidmore College in the 2015-2019 academic years.

       8.     Upon information and belief, at all times hereinafter mentioned, Defendant

Skidmore College is a private, liberal arts college and a domestic non-profit corporation

incorporated in New York, with its principal place of business located at 815 N. Broadway,

Saratoga Springs, NY 12866.

       9.     At all times hereinafter mentioned, during the 2015-2019 academic years,

the United States Department of Education (“ED”) distributed financial support to public

and private colleges and universities for students attending their schools. Upon

information and belief, Defendant Skidmore was a recipient of such federal funding.

                                     BACKGROUND

       10.    This case arises amidst a growing national controversy stemming from the

Department of Education’s Office of Civil Rights (“OCR”) threats to withhold federal

education dollars in order to compel colleges and universities to aggressively address

sexual assault and harassment on campus.

       11.    OCR’s threatened withholding of federal funds puts great pressure on

Defendant and other colleges and universities to treat male students accused of sexual

misconduct with a presumption of guilt and to simply punish the male student in order




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to avoid jeopardizing the flow of taxpayer dollars, under the guise of making campuses

safe for female students.

          12.      The issue of sexual assaults on college and College campuses is primarily

addressed by an act of Congress known as Title IX of the Education Amendments of 1972,

20 U.S.C. §§ 1681-1688. Title IX applies to all public and private educational institutions

that receive federal funds, including colleges and universities. The statute prohibits

discrimination on the basis of sex in a school’s “education program or activity,” which

includes all of the school’s operations. 1 A school specifically agrees, as a condition for

receiving federal funds, to operate all of its programs and activities in accordance with

Title IX and the Department of Education’s Title IX regulations.

          13.      The use of Title IX in “campus rape” issues is regulated by the OCR’s 2011

so-called Dear Colleague Letter that is subject to the following changes proposed in 2017:

                ● Removing the requirement that findings of fact and conclusions must be

                   reached by applying a preponderance of the evidence standard and allowing

                   institutions to decide whether to apply the more likely than not

                   preponderance standard or the highly probable clear and convincing

                   evidence standard;

                ● Making it clear that the burden is on the institution, and not on either party,

                   to gather sufficient evidence to reach a fair and impartial determination as

                   to whether sexual misconduct has occurred.

          14.      As detailed below, for years, Defendant along with other universities were

under federal scrutiny for alleged indifference to sexual violence on campus in violation



1   20 U.S.C. §§ 1681(a), 1687.



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of Title IX, and for violations of the Clery Act, which requires colleges to keep and disclose

information about crime on and near their respective campuses. Title IX compliance is

monitored in part by the ED which can impose civil penalties and can suspend institutions

from participating in federal student aid programs.

       15.    Upon information and belief, Defendant’s violations of Plaintiff’s rights

occurred in part because of threats by the federal government that colleges and

universities could lose federal funding or face other adverse consequences for not finding

male students like Plaintiff responsible for sexually assaulting female students. Evidence

of this pressure includes but is not limited to, the White House’s April 2014 report entitled

“Not Alone”, which encouraged schools to combat sexual assault of women on campuses

and warned that if colleges do not adhere to Title IX, they “risk[] losing federal funds”

and/or face potential lawsuits filed by the Department of Justice.”

       16.    Skidmore has also made itself vulnerable to student pressure: In March

2015, Skidmore extended the suspension of a student accused of sexual assault by two

years and denied him access to campus even though his original sanction had expired.

Skidmore added two more years to this male student’s suspension in response to campus

protests organized by the female accuser whose philosophy of punishment demanded

expulsion and no return to campus for students found responsible of sexual misconduct.

Skidmore’s accommodated the accuser and the protesters indicates its willingness to

follow campus trends rather than contractual obligations.

                             STATEMENT OF THE FACTS

       17.    In the Fall of 2018 Plaintiff began his senior year at Skidmore eager to gain

his degree and graduate. Pursuant to Skidmore’s policies, Plaintiff had matriculated at




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Skidmore, properly registered and paid for the necessary courses and credits to

complete his degree.

        18.      During his freshman year Plaintiff met Jane Doe, 2 a former student at

Skidmore, and the two began an interpersonal and sexual relationship.

        19.      Plaintiff and Jane Doe engaged in sexual relations on a regular basis,

discussing the parameters of the relationship as it grew, including their eventual decision

not to use a condom during sex.

        20.      At or near the end of October 2015, Jane Doe had a fight with her roommate

and spent the night in Plaintiff’s room. The next morning, after Plaintiff’s roommate left,

the two had sex, talked and, in due course, Jane Doe left.

        21.      Shortly after Plaintiff and Jane Doe ended their relationship later during his

freshman year, Jane argued with Plaintiff about him seeing other people. They continued

to see each other in class and remained cordial for the rest of the school year.

First Title IX Action (Title IX 1)

        22.       In the Fall of 2018, Plaintiff began his senior year at Skidmore College.

        23.      While attending a party in the early Fall, Plaintiff met Sue Roe around

11:30p.m. that evening. Plaintiff was unaware at that moment that Sue Roe had been

drinking since 8:30p.m. and had ingested cocaine earlier in the evening. Plaintiff had no

prior experience socializing with Sue Roe and did not encounter Sue Roe until around

11:30. He had no basis to determine to what extent her drug and alcohol consumption

may have altered her behavior.




2To protect student privacy, Plaintiff is using pseudonyms for all Skidmore students and former students and will
provide the proper names to Defendant in a separate document.



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       24.    Soon after Plaintiff joined Sue Roe and her friends, he invited everyone to

his apartment. Plaintiff observed Sue Roe run on the way to his apartment. Her behavior

evidenced a balanced and proficient gait, as well as enthusiasm for the task at hand to

arrive to Plaintiff’s apartment.

       25.    At Plaintiff’s apartment, Sue Roe conversed with Plaintiff about having been

a counselor at a summer camp and about having sex with other counselors. She invited

Plaintiff to become a counselor. Plaintiff observed that Sue Roe was coherent, proficient

in speech, and able to effectively engage in conversation. Also, given that she was also

aware that Plaintiff had expressed an interest in her, her choice of anecdote and expressed

interest in his becoming a counselor at her summer camp reasonably indicated to Plaintiff

that she was also interested in him.

       26.    Soon after this conversation, the opportunity arose for Plaintiff’s guests to

go upstairs to the bedroom of one of the Plaintiff’s roommates to look at a new computer

he had built. Sue Roe ably climbed the steep 18-step staircase to the second story.

       27.    After Sue Roe went upstairs with her friends, she and Plaintiff stayed behind

when everyone else returned downstairs. While many of Sue Roe’s friends reported that

they were aware that she did not return downstairs with them, none of them expressed

any concern that she may be incapacitated and no one acted to chaperone the couple or

intervene in any way.

       28.    After talking and flirting for a few minutes in which Plaintiff and Sue

expressed attraction to the other, Plaintiff and Sue Roe commenced kissing in his

roommate’s bedroom. Plaintiff recommended they move to his bedroom and Sue Roe

willingly joined him. In Plaintiff’s bedroom, Plaintiff saw Sue Roe energetically jump on

his bed and Plaintiff followed her lead and jumped on the bed as well.



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       29.    Plaintiff also observed Sue Roe removing all of her clothing herself,

including her pierced earrings, before he undressed.

       30.    While they were engaged in sex, Sue Roe made the sounds of enjoyment and

later stated that she could feel that he wasn’t wearing a condom, but made no objections,

and afterwards the two cuddled.

       31.    Sue Roe then got dressed and went downstairs (unassisted) where she

located her friends on the couch and joined them. Sue Roe and her friends stayed a while

longer and then left.

       32.    Several weeks later, Plaintiff received a notice from Defendant that a

complaint was filed by Sue Roe alleging violations of sexual misconduct against Plaintiff.

       33.    Plaintiff was immediately issued an order to stay away from Sue Roe, and

although he had earned sufficient credits to graduate and had already been accepted to

graduate program, he was suspended from receiving his diploma for three (3) years.

       34.    Moreover, even though the suspension occurred only weeks before

graduation, Skidmore prohibited Plaintiff from completing the three (3) courses in which

he was enrolled and he was given F’s and denied credits for two of these courses with no

opportunity to complete or re-take these courses.

       35.    Notably, while some of Plaintiff’s coursework was due on or before the

date of his suspension in connection with Title IX 1 on April 23, 2019, other assignments

were due later in the semester and/or his instructors gave Plaintiff the option to turn in

assignments after his suspension.

       36.    Nevertheless, Defendant refused to accept assignments past April 23,

2019, when he was suspended.




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       37.     But for the suspension and pursuant to Defendant’s policies and customs

in connection with incomplete coursework for graduating senior, Plaintiff would have

been allowed submit his coursework timely or at least take an incomplete in lieu of a

failing grade. Instead, Defendant forced Plaintiff into failing two of the three courses he

needed to complete his degree program.

       38.     Moreover, as part of Plaintiff’s sanction, Skidmore will not allow Plaintiff to

complete (and/or retake) these two courses at Skidmore.

       39.     The consequence of this prohibition is a Catch-22: To complete his

degree, Plaintiff must take two courses at another school and transfer those credits to

Skidmore. However, other schools will not allow a transfer student to take senior level

courses that Skidmore would accept as transfer credits without matriculating in a degree

program. To officially matriculate in a degree program in a new school, Plaintiff would

have to repeat upwards to two-years of credits. This is a draconian cost of time and

money, and compounds the unwarranted sanction against Plaintiff punitively and in

extremis.

Second Title IX Action (Title IX 2)

       40.     Shortly after receiving the gender biased decision from Skidmore, Plaintiff,

received a notice from Defendant that a complaint was filed by Jane Doe, Plaintiff’s

girlfriend from his freshman year—three (3) years prior—alleging violations of sexual

misconduct against Plaintiff. The complaint stated that while Plaintiff and Jane Doe were

engaged in a consensual sexual relationship during his Freshman year, having sex 3 to 5

times a week over the course of approximately 5 weeks, she was coerced into:

             ● Performing oral sex

             ● Having sex without the use of a condom


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              ● Non-consensual sex the morning after she spent the night in his room

Jane Doe’s Complaint

        41.     Jane Doe states that although she consensually participated in sex with

Plaintiff at least three (3) times a week, she wanted to use a condom and had condoms in

her room. However, 9 out of 10 times she would sexually engage Plaintiff in his room,

where there were no condoms, nor did she bring condoms with her.

        42.     Jane Doe further stated that she did not want to engage in oral sex but would

do so because Plaintiff would say ”please”, so she felt coerced and complied. 3

        43.     Jane Doe further stated that she did not consent to having sex with me the

morning after she spent the night (as described herein). Instead, she stated that I asked her to

have sex, and she stated no. However, she woke me up saying she changed her mind. Then, she

put on her clothes, after which we talked and she eventually left. In another encounter, she

claimed that I coerced her into sex because I “pouted and said please” repeatedly until she said

yes, then she laid there while I performed sex.

        44.     Three years later, just before Plaintiff was to graduate, Jane Doe filed her

complaint.

Investigation

        45.     During the investigation, Jenna Jones and Sadie Smith (both pseudonyms),

the two students Jane Doe identified as witnesses whom she told what happened during

her 2015 freshman year at Skidmore alleging that Plaintiff had raped her, were

questioned. Jenna said that, in 2015, Sue told her that she and Plaintiff broke up because

he had cheated on her. But then in 2016, while Jane was attending a different school,

3 Jane Doe does not state that she objected after Plaintiff said “‘please” nor that he made any adverse
threats. However, his polite request apparently caused her to feel coerced.



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Jane told her that Plaintiff had assaulted her. Sadie stated that she doesn’t recall Sue

telling her anything at all about an assault.

       46.    During the investigation Jane Doe also identified three (3) additional

individuals—her two (2) roommates and Plaintiff’s roommate—but admitted that she did

not speak with her roommates regarding her relationship with Plaintiff and did not

believe that Plaintiff’s roommate had any knowledge. As such, they were not interviewed.

Determination—Title IX 1

       47.    After a hearing, Defendant determined that there was sufficient evidence to

support the allegation that there was a violation of sexual misconduct policy by Plaintiff

towards Sue Roe. Plaintiff received a three (3) year suspension and was banned from

campus.

Determination—Title IX 2

       48.    After a hearing, Defendant determined that, while there was no finding of

coercion, there was sufficient evidence to support the allegation that there was a violation

of sexual misconduct policy by Plaintiff towards Jane Doe. Plaintiff received a two (2)

year suspension and was banned from campus to commence after the three (3) year

suspension imposed in connection with the Title IX 1 determination.

       49.    Plaintiff’s combined sanctions prohibit him from receiving his earned

degree until 2024.

Plaintiff’s Appeal

       50.    Plaintiff appealed and argued that, because the first Title IX case regarding

Sue was disclosed to the panel, there was material deviation from established procedures

and error in the application of policy along with an substantiated bias in the investigation,

hearing and determination.



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       51.    Further, Plaintiff argued that the hearing panel gave a presumption of truth

to the statements and alleged facts presented by Jane Doe and Sue Roe and their

presented witnesses and put the burden on him to have to prove the truthfulness of his

statements.

       52.    On appeal, Defendant Skidmore upheld the Title IX 1 determination of a

three (3) year suspension and modified the Title IX 2 determination, reducing the

suspension to one (1) year, further determining that it should run concurrent with the

Title IX 1 three (3) year suspension. After appeal, Plaintiff will not receive his earned

degree until May 31, 2022.

Skidmore’s Sexual Misconduct Policy And Procedure

       53.    In its March 6, 2019 Panel Decision (sanction modified on March 22, 2019,

collectively, the “Decision”), Skidmore found Plaintiff responsible for engaging in sexual

activity with Sue Roe without her consent as a result of her “incapacitation.” Whereas it

appears that Sue and Plaintiff were both intoxicated, both Plaintiff and Sue provided

ample evidence that he had no reasonable basis to believe that she was inebriated to the

point of incapacitation. Indeed, Sue, by her own testimony (and actions) established that

she was inebriated but not incapacitated during the time she and Plaintiff were in each

other’s company—she exhibited fine motor skills by disrobing herself and removing her

earrings and was an active participant in the sexual encounter. As such, her consent was

given non-verbally.

       54.    In accordance with Defendant Skidmore’s Policy and Procedure,

Incapacitation is defined as:

       Where alcohol or other drugs are involved, incapacitation is a state beyond
       drunkenness or intoxication, which occurs when an individual lacks the ability to
       knowingly choose to participate in sexual activity. Depending on the degree of
       intoxication, someone who is under the influence of alcohol, drugs, or other


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       intoxicants may be incapacitated and therefore unable to consent. The impact of
       alcohol and other drugs varies from person to person; however, warning signs that
       a person may be approaching incapacitation may include slurred speech, vomiting,
       unsteady gait, odor of alcohol, combativeness, or emotional volatility.

       Incapacitation Standard, Policy, pp. 19-20:

       Evaluating incapacitation requires an assessment of how the consumption of

alcohol and/or drugs affects an individual’s:

       Decision-making ability;
       Awareness of consequences;
       Ability to make informed judgments;
       Capacity to appreciate the nature and the quality of the act; and/or
       Level of consciousness.

       Id.

       In other words, a person may be considered unable to give affirmative consent due

to incapacitation if the person cannot understand who, what, where, when, why, or how,

with respect to the sexual interaction.


       55.    Skidmore’s policy defines incapacitation as follows:

       Incapacitation: a state where someone cannot make rational,
       reasonable decisions because they lack the capacity to give knowing
       consent (e.g., to understand the “who, what, when, where, why or
       how” of their sexual interaction) . . . Incapacitation can also occur
       because of an individual’s physical or mental condition or disability
       that impairs the individual’s ability to provide consent.
       Incapacitation as a result of a physical or mental condition includes,
       but is not limited to, being: (i) asleep or in a state of unconsciousness;
       (ii) physically helpless; or (iii) involuntarily restrained. Depending
       on the degree of intoxication, someone who is under the influence of
       alcohol or drugs may be incapacitated and unable to consent to
       sexual activity. Being drunk or intoxicated, however, does not
       necessarily render someone incapacitated. The impact of alcohol or
       drugs varies from person to person. Whether sexual activity with an
       incapacitated person constitutes gender-based misconduct depends
       on whether the Responding Student knew or should have known of
       the Reporting Individual’s incapacitation. The question of what a
       Responding Student knew or should have known is objectively based
       on what a reasonable person in the place of the Responding Student,


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      sober and exercising good judgment, would have known about the
      condition of the Reporting Individual.

      Definition of Incapacitation (in relevant part), Policy, p. 10,
      emphasis added.

      56.    Skidmore’s Policy clearly distinguishes intoxication from incapacitation.

Moreover, Skidmore’s Policy does not prohibit sexual engagement with an intoxicated

person. Yet, in practice, Skidmore impermissibly equates intoxication with incapacitation

and impermissibly prohibits sexual engagement with an intoxicated person.           Such

practices breach Skidmore’s policies.

      57.    Skidmore’s practices are also not in accord with the Association of Title IX

Administrators, which also distinguishes between intoxication and incapacitation as

follows:


      A common policy problem comes from failing to distinguish
      between intoxicated and incapacitated . . . the key is that the
      respondent’s culpability rests on two factors, the incapacitation of
      the victim and his knowledge of that incapacitation, whether actual
      or constructive.

      Brett A. Sokolow, J.D., ATIXA Executive Director, ATIXA Tip of the
      Week Newsletter, Sex and Booze, April 24, 2014.

      58.     As such, incapacitation cannot be determined by the Decision’s decree.

Pursuant to the Policy and New York’s Enough is Enough Law Art. 129-B, NY CLS Educ.

§6443 et seq., such determination requires a fair and impartial assessment of whether

Plaintiff should have been aware of Sue’s incapacitation based on objectively and

reasonably apparent indicators of impairment when viewed from the perspective of a

sober, reasonable person in his position.

Burden of Proof




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      59.     Plaintiff has no burden of proof to establish his compliance with the Policy.

The only party who has any burden of proof is Skidmore. Yet Skidmore neglected its role

and foisted the burden entirely on Plaintiff. As such, Skidmore’s policies and practices

are not in compliance with New York State’s Enough is Enough law, Art. 129-B

6444(5)(c)(ii) that requires that all New York universities and colleges acknowledge “the

rights of the respondent, including the right to a presumption that the respondent is ‘not

responsible’ until a finding of responsibility is made pursuant to the provisions of this

article and the institution’s policies and procedures [emphasis added].

      60.    Moreover, The Art. 129-B Guidelines explains the presumption with respect

to the respondent’s rights pursuant to Art. 129-B 6444(5)(c)(ii) as follows:

             The Respondent “should not be determined in advance to
             have violated a rule and then required to ‘prove a negative.’
             To borrow a phrase from the criminal justice process, one is
             ‘innocent until proven guilty.’ This law, consistent with that
             principle, emphasizes that a respondent is presumed to be
             ‘not responsible’ until the institution has established
             evidence, testimony or information that would allow the
             decision maker to find the respondent responsible pursuant
             to the institution code of conduct and this law. Note that the
             burden is on the institution to develop these facts, not on the
             reporting individual, who may participate at the level to
             which he or she is comfortable. Through the process,
             appropriate officials may listen to witnesses and review
             available evidence to make a determination, to the best of
             their ability, whether it is more likely than not that a policy
             violation occurred. For example, an institution cannot begin
             a process with the presumption that a respondent engaged
             in sex without consent, and then begin to gather evidence
             wherein the respondent would have to prove there was
             consent. The institution should gather evidence to determine
             whether a violation occurred and the burden of such a
             finding is on the institution [emphasis added].”


      61.    Skidmore impermissibly began its process with the presumption that

Plaintiff was the initiator. This is apparent in the record as Skidmore did not address the



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issue of initiation and made no finding of fact that Plaintiff was the initiator.

       62.       As such, Skidmore wrongly imposed a standard of liability on Plaintiff based

solely on his capacity as the student Sue complained against. This is not a fair and

impartial standard. Instead, it is a standard that relies on sleight-of-hand to characterize

the responding student as the initiator and therefore the party responsible for consent.

Given that the majority of responding students are male and the majority of reporting

students are female, Skidmore’s Policy impermissibly puts its male students in the unfair

and stereotypically discriminatory role as the sexual aggressor and initiator of sex and at

the same time the presumed protector of his female partner.

       63.       Indeed, Skidmore’s Policy does not require that the responding student

have mens rea, or a motive for his actions. Regardless, Skidmore wrongly manufactured

intent based on sexual stereotypes and identified Plaintiff as a predator who plied Sue

with alcohol. The opposite is true: Sue consumed drugs and alcohol by her own volition

throughout the evening. Further, at Plaintiff’s apartment, Plaintiff observed Sue go

through his cabinets uninvited looking for alcohol, which she admitted to having done.

       64.       An unwarranted sexual encounter based on incapacitation is solely judged

on the objective/reasonable/sober standard, not on whether the student had any intent

whatsoever. The failure to obtain affirmative consent could be merely unintentional

negligence, perhaps because of the responding student’s own inebriation, or a

misunderstanding on who was the initiator. In any event, the Policy does not require a

finding of motive or intent, and Skidmore’s overreaching effort to fabricate one regardless

of the record is a particularly malicious and offensive mismanagement of the

investigation.




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         65.     Skidmore’s actions are all the more egregious given that Sue’s credibility

was compromised by intentional deceit. Given Sue’s presence of mind and capacity, it is

curious that she forgot to disclose to the investigator that she took cocaine earlier in the

evening, especially since she initiated the cocaine use with a text to her friends—“let’s do

drugs.” She did not forget the cocaine; she was covering it up. Sue continued to

conveniently misremember facts and easily manipulate narratives.             She does not

remember discussing birth control with Plaintiff for example, but he had information

about her birth control and STD testing that was verified by her own evidence. Yet she

remembered the next morning that she had sex with Plaintiff and immediately strategized

to cover it up so her then-current boyfriend would not find out.

         66.     Skidmore is in violation of its own policy and New York’s Enough is Enough

Law, and despite the overwhelming factual evidence and information to the contrary,

Defendant Skidmore chose to rule against Plaintiff.

                                   CAUSES OF ACTION

                                    COUNT I
                              20 U.S.C. § 1681 et seq
               TITLE IX OF THE EDUCATION AMENDMENTS OF 1972
                Hostile Education Environment/Sexual Harassment

         67.     Plaintiff repeats the allegations made in the preceding paragraphs and

incorporates those allegations by reference with the same force and effect as if herein set

forth.

         68.     Title IX of the Education Amendments of 1972 provides, in relevant part,

that: “No person in the United States shall, on the basis of sex, be excluded from

participation in, be denied the benefits of, or be subjected to discrimination under any

education program or activity receiving Federal financial assistance.”



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       69.    Defendant receives federal financial assistance.

       70.    Plaintiff’s gender is protected by Title IX.

       71.    During the events herein, Plaintiff matriculated as a student in attendance

at Skidmore College.

       72.     Plaintiff was subject to harassment from Sue Roe and Jane Doe through

planning, scheming, plotting and filing false allegations against him for the purpose of

causing him injury.

       73.    Sue Roe and Jane Doe’s harassment was sufficiently severe and/or

pervasive to alter the condition of Plaintiff’s education and created an abusive educational

environment for Plaintiff and constitutes a continuing violation.

       74.    Skidmore’s representatives were aware of the false, retaliatory and

harassing complaints filed against Plaintiff and failed to adequately respond to or

address the harassment. Indeed, Skidmore’s representatives acted with deliberate

indifference with respect to the harassment of Plaintiff even as the Title IX coordinator

contacted a close friend and a girlfriend of Plaintiff’s about an instance in a Gender

Studies class in which the instructor encouraged students to make protest-style posters

against Plaintiff and calling for his punishment and removal from campus without

graduating, and in which Sue Roe’s friends confronted Plaintiff’s girlfriend to discourage

her from dating Plaintiff.

       75.    Such actions by these students and the instructor in this course is a clear

breach of Skidmore’s confidentiality provisions which aim to protect the identities of

parties to a Title IX action. It also breaches Skidmore’s prohibition against retaliation as

these actions were intended to cause harm to Plaintiff by condemning him in public and

interfering in his personal life.



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       76.    Skidmore’s conduct as set forth herein was in violation of Title IX’s

strictures against harassment and Skidmore is liable to Plaintiff. Interestingly, when

Plaintiff sought counseling at Skidmore’s Counseling Center in connection with the

extreme emotional distress he was enduring, he found that Skidmore’s Counseling Center

was not neutral and that the receptionist at the Counseling Center was also a liaison

between Skidmore’s Title IX office and the dean. As a result, Plaintiff wound up with no

counseling from Skidmore. On information and belief, female students who report Title

IX violations and seek counseling face no such conflict of interest.

       77.    Indeed, whereas Skidmore has the right and does initiate Title IX

disciplinary actions on behalf of alleged female victims of sexual harassment, Skidmore

did not bring an action against Sue Roe and Jane Doe on Plaintiff’s behalf.

       78.    Plaintiff became the subject of anonymous online messages saying lewd

things about him. Skidmore’s conduct as set forth herein was in violation of Title IX’s

strictures against sexual harassment and Skidmore is liable to Plaintiff.

       79.    By reason of the sexual harassment, Plaintiff has suffered and continues to

suffer extreme emotional distress and damage to his reputation and Plaintiff is entitled to

all legal and equitable remedies available under Title IX, including an award of punitive

damages, attorneys’ fees and costs.

       80.    Based upon the foregoing, as a direct and proximate result of the

Defendant’s conduct as alleged above, Plaintiff’s academic and career prospects, earning

potential, and reputation have been severely harmed and he has suffered loss of

educational and professional opportunities, loss of future career prospects, and other

direct and consequential damages and has suffered damages including extreme emotional

distress, and loss of capacity for the enjoyment of life.



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         81.     By reason of the foregoing, Plaintiff is entitled to all legal and equitable

remedies available including an award of all applicable damages, prejudgment interest,

attorneys’ fees, costs and other compensation in an amount to be determined upon the

trial of this action.


                                    COUNT II
                               20 U.S.C. § 1681 et seq.
               TITLE IX OF THE EDUCATION AMENDMENTS OF 1972
                              Gender Discrimination

         82.     Plaintiff repeats the allegations made in the preceding paragraphs and

incorporates those allegations by reference with the same force and effect as if herein set

forth.

         83.     Title IX of the Education Amendments of 1972 provides, in relevant part,

that: No person in the United States shall, on the basis of sex, be excluded from

participation in, be denied the benefits of, or be subjected to discrimination under any

education program or activity receiving Federal financial assistance.

         84.     Defendant receives federal financial assistance.

         85.     Plaintiff’s gender is protected by Title IX and, during the events herein,

Plaintiff was a student at Skidmore.

         86.     Defendant discriminated against Plaintiff by permitting a pattern or

practice of gender discrimination against him in violation of Title IX as set forth herein.

         87.     Such pattern or practice constitutes a continuing violation and Skidmore is

liable to Plaintiff from October 2018 to the present date—the Relevant Time Period.

         88.     Plaintiff, Sue Roe and Jane Doe were similarly situated in that they alleged

harassment by the other in violation of Skidmore’s Title IX Policy.


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        89.   Skidmore’s indifference adversely affected Plaintiff as he was vulnerable

to: a) a subsequent investigation; b) a protective order limiting his access to campus; c)

a sanction that is not only a cloud on his academic record, but because there was a pre-

existing claim and NCO the further claims made him vulnerable to more severe

sanctions; d) a second investigation; e) immediate and unwarranted separation from

campus; and f) a lengthy investigation in violation of the Policy’s and the OCR’s 60-day

rule.

        90.   Skidmore was also deliberately indifferent to Plaintiff’s claims that it

gave credibility to the Reporting Individuals, Sue Roe and Jane Doe, and

discredited his statements and facts. Moreover, Skidmore judged Plaintiff

according to antiquated gender stereotypes.

        91.   In each instance, the alleged conduct was not witnessed and Skidmore

gave no weight to the surrounding facts and circumstances in accordance with its

policies in basing its decision that the statements of Sue and Jane were credible and

that Plaintiff’s statements were not.

        92.   Skidmore seized the opportunity to bring actions against Plaintiff

based on the allegations of Sue and Jane that were in contrast with its policies and

procedures and violated the Code’s prohibition to not misrepresent information

during the Title IX action.

        93.   By bringing an action against Plaintiff, he was adversely affected and

denied his degree and immediate future opportunities.

        94.   Skidmore discriminated against Plaintiff’s gender and detrimentally

and adversely affected Plaintiff’s education because he is male.




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         95.     Defendant’s gender discrimination was intentional, deliberate, willful,

malicious, reckless, and conducted in callous disregard of Plaintiff’s rights, entitling

Plaintiff to punitive damages.

         96.     As a direct and proximate result of Defendant’s aforementioned

conduct, Plaintiff has suffered extreme emotional distress, mental anguish,

humiliation and embarrassment and damage to his reputation.

         97.     Based upon the foregoing, as a direct and proximate result of the

Defendant’s conduct as alleged above, Plaintiff’s academic and career prospects,

earning potential, and reputation have been severely harmed and he has suffered

loss of educational and professional opportunities, loss of future career prospects,

and other direct and consequential damages and has suffered damages including

extreme emotional distress, and loss of capacity for the enjoyment of life.

         98.     By reason of the foregoing, Plaintiff is entitled to all legal and equitable

remedies available, including an award of all applicable damages, prejudgment interest,

attorneys’ fees, costs and other compensation in an amount to be determined upon the

trial of this action.

                                   COUNT III
                               20 U.S.C. § 1681 et seq.
               TITLE IX OF THE EDUCATION AMENDMENTS OF 1972
                                Erroneous Outcome

         99.     Plaintiff repeats the allegations made in the preceding paragraphs and

incorporates those allegations by reference with the same force and effect as if herein set

forth.




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         100.   In Title IX 2, Skidmore engaged in a series of actions that ultimately

resulted in a suspension order against Plaintiff based on a manufactured complaint

from Sue Roe and a retaliatory complaint from Jane Doe.

         101.   The erroneous outcome of ordering Plaintiff’s suspension and

separation from campus after he had achieved the necessary credits to graduate

was caused in substantial part by gender bias against Plaintiff. This gender bias is

reflected in the patterns of decision making and procedural missteps demonstrated

by Skidmore throughout the entire investigative process, which among other

things, judged Plaintiff, Jane and Sue according to antiquated gender stereotypes.

         102.   Skidmore’s gender bias caused such erroneous outcomes as: a) a

protective order limiting Plaintiff’s access to campus; b) a sanction that is not only a

cloud on his academic record, but as a pre-existing complaint made him vulnerable to

further sanctions; d) multiple investigations; e) immediate and unwarranted separation

from campus, f) a lengthy investigation in violation of the Policy’s and the OCR’s 60-day

rule, and g) threats of disciplinary action based on alleged violations of the no contact

order.

         103.   Skidmore’s violations of its obligations under Title IX proximately caused

Plaintiff to sustain tremendous damages, including, without limitation, emotional

distress, economic injuries, reputational damages, and the loss of educational and post-

graduate opportunities and other direct and consequential damages.

         104.   Plaintiff is entitled to damages (compensatory and punitive as well as

attorney’s fees) for the harm he suffered as a result of Skidmore’s violation of its Title IX

obligations.

                                      COUNT IV
                                20 U.S.C. § 1681 et seq.

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            TITLE IX OF THE EDUCATION AMENDMENTS OF 1972
                          Selective Enforcement

         105.   Plaintiff repeats the allegations made in the preceding paragraphs and

incorporates those allegations by reference with the same force and effect as if herein set

forth.

         106.   Defendant exhibited patterns and practices of decision-making that show

that the penalties Plaintiff endured and the very decisions to initiate Title IX 2 against

him, as well as the decision to not initiate a Title IX action against Sue or Jane, were

motivated by Skidmore’s pattern or practice of intentional animus against Plaintiff’s

gender, which among other things, led to findings based on antiquated gender

stereotypes.

         107.   Plaintiff, Sue Roe and Jane Doe were similarly situated in that Skidmore

was aware that Sue violated Skidmore’s Title IX Sexual Misconduct Policy. However,

Skidmore encouraged and endorsed Sue’s claims against Plaintiff, and discouraged and

did not endorse Plaintiff to bring a claim against Sue.

         108.   As indicated by the Title IX actions, Skidmore is on alert and willing to

bring a disciplinary action on behalf of a female student against a male student, but not

willing to bring a disciplinary action on behalf of a male student against a female

student even if the male student alleges policy violations similar to the allegations

asserted by the female student, as Sue’s allegations were false and thereby violated

Defendant’s policy.

         109.   As indicated, Skidmore is on the alert and willing to bring a disciplinary

action against a male student even when the female accuser’s allegations are

contradictory and retaliatory, but Skidmore is unwilling to bring a disciplinary action




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against a female student even when the male accuser is willing to participate and is

being injured as a result of the false allegations.

       110.   Skidmore’s selective enforcement affected Plaintiff as he was vulnerable

to: a) a subsequent investigation; b) a protective order limiting his access to campus; c)

a sanction that is not only a cloud on his academic record; d) a second investigation, e)

immediate and unwarranted separation from campus; f) a lengthy investigation in

violation of the Policy’s and the OCR’s 60-day rule; and g) threats of disciplinary action

based on alleged violations of the no contact order.

       111.   Skidmore was also deliberately indifferent to Plaintiff’s claims that Sue

and Jane: a) breached their duty to uphold the confidentiality of the proceeding by

spreading misandristic rumors about Plaintiff and among other things calling him a

sexual predator and a danger to the Skidmore community; b) violated the Code’s

prohibition to not misrepresent information and lie during the Title IX actions.

Skidmore was also deliberately indifferent to the acts of retaliation causing harm to

Plaintiff’s reputation and well-being.

       112.   Defendant exhibited a pattern or practice of anti-male bias during the

disciplinary action by the differential and selective treatment Plaintiff and Sue and Jane

received in that, among other things, Sue and Jane alleged conclusory, false and

unsubstantiated claims to which Plaintiff was prohibited to respond.

       113.   Defendant exhibited a pattern or practice of anti-male bias during the

disciplinary action by the differential and selective treatment he and Sue and Jane

received in that, among other things, Defendant could not attribute a negative motive to

Sue and Jane but determined that by virtue of being accused, Plaintiff could not be

presumed innocent, but instead was presumed responsible.



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         114.   Skidmore exhibited intentional and substantial gender bias when it failed

to prosecute Sue and Jane (and/or at least censure the former student) for their actions

against Plaintiff through false allegations of sexual violations against themselves and

others.

         115.   Based upon the foregoing, as a direct and proximate result of the

Defendant’s conduct as alleged above, Plaintiff’s academic and career prospects, earning

potential, and reputation have been severely harmed and he has suffered loss of

educational and professional opportunities, loss of future career prospects, and other

direct and consequential damages and has suffered damages including emotional

distress and loss of capacity for the enjoyment of life.

         116.    By reason of the foregoing, Plaintiff is entitled to all legal and equitable

remedies available including an award of all applicable damages, prejudgment interest,

attorneys’ fees, costs and other compensation in an amount to be determined upon the

trial of this action.

                                      COUNT V
                        Covenant of Good Faith and Fair Dealing

         117.   Plaintiff repeats the allegations made in the preceding paragraphs and

incorporates those allegations by reference with the same force and effect as if herein set

forth.

         118.   Based on the aforementioned facts and circumstances, Skidmore

breached and violated a covenant of good faith and fair dealing implied in the

agreement(s) with Plaintiff by ordering his separation from the College based on

false and baseless complaints and the clearly improper application of the

intoxication/incapacitation policy resulting a presumption of guilt against the



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accused.

       119.      As a direct and foreseeable consequence of these breaches,

Plaintiff sustained tremendous damages, including, without limitation, emotional

distress, economic injuries, and other direct and consequential damages.

       120.      Plaintiff is entitled to recover damages for Skidmore’s breach of

the express and/or implied contractual obligations described above.

       121.      As a result of the foregoing, Plaintiff is entitled to damages in an

amount to be determined at trial, plus prejudgment interest, attorneys’ fees,

expenses, costs and disbursements.

                                         COUNT VI

                                BREACH OF CONTRACT

       122.   Plaintiff repeats the allegations made in the preceding paragraphs and

incorporates those allegations by reference with the same force and effect as if herein

set forth.

       123.   Skidmore’s Code of Conduct and Sexual and Gender-Based

Harassment, Sexual Violence, Relationship and Interpersonal Violence and Stalking

Policy (the (“Policy”) represents a contractual commitment to its students.

       124.   Plaintiff matriculated at Skidmore and at all relevant times relied on

the Code and Policies.

Breach of Policy

       125.   In particular, Plaintiff relied on Skidmore’s duty as set for in the Policy

to “not discriminate on the basis of sex, race, color…[and]…disability, in the

administration of its educational policies or other school administered programs.”

       126.   Skidmore violated this Policy provision by granting preference and


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credibility to the complaints, allegations and statements of female students, Sue and

Jane, each of whom was similarly situated to Plaintiff as set forth herein, but for their

gender.

       127.   As a result, Sue and Jane—female students—had access to the Policy’s

full procedural process for Title IX violations, yet Skidmore did not grant Plaintiff—a

male student—the same rights under the Policy.

Breach of Code of Conduct

       128.   Further, Skidmore breached the Code’s prohibition of “[l]ying or

materially misrepresenting information to an official College body or officer,

including a member of the Department of Public Safety.” The Code states that

“[l]ying in the course of a student conduct hearing constitutes an offense that is

immediately actionable.”

       129.   Sue and Jane asserted a number of misrepresentations and presented

them to Skidmore during the Title IX investigations. Even though these statements

were contradictory, and hearsay, Skidmore did not exclude them from the

investigative report. Further, Sue and Jane continued to misrepresent their

experiences with Plaintiff at the hearing, yet Skidmore took no action against Sue

and Jane whatsoever immediately or otherwise. Sue and Jane asserted a number of

misrepresentations that were memorialized and presented to Skidmore during the

Title IX investigations.

Breach of Covenant to Uphold Individual Integrity

       130.   Skidmore’s policy on individual integrity requires that members of the

Skidmore community will be truthful and forthright as set forth in its Code of

Conduct. Skidmore expects that community members will not engage in behavior



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that has serious ramifications for the safety, welfare, academic well-being, or

professional obligations of others.

       131.   In committing egregious violations of Plaintiff’s rights during the

issuance of a separation order and suspension, Skidmore violated the policies of the

Code of Conduct.

       132.   Skidmore’s failure to hold Sue and Jane accountable for individual

integrity breached its own policies, the guarantees of due process and fundamental

fairness, and the implied covenant of good faith and fair dealing.

Breach Of Procedural Rights In Connection With Title IX

       133.   According to the Code, Skidmore’s authority to separate a student from

the College is limited to instances where the student “pose[s] a danger to themselves

or the immediate well-being of the College community.”

       134.   Skidmore’s March 6, 2019 suspension order to Plaintiff was not based

on an actual facts, but was instead based on the failure to follow policy and procedure

with the presumption of credibility given to the reporting individual and the

placement of a burden to prove innocence on the respondent.

       135.   Skidmore has deprived Plaintiff of his contractual rights to due process

and equal protection through the improper administration of the student suspension

order process in violation of Skidmore’s guidelines and regulations.

       136.   As set forth in its Title IX Complaint Process, Skidmore also breached its

obligation to “ordinarily complete its investigation and disciplinary process, fairly and

in accordance with policy.” Skidmore did not apply its own policies and procedures

during the investigation or hearing.

       137.   The Skidmore College Code of Conduct sets forth “Student Rights and


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Responsibilities,” which list confers upon students the right “[t]o be treated fairly.”

       138.   As set forth in its Title IX Complaint Process, Skidmore also breached its

obligation to apply its policies and procedures fairly, which based on the statements

and facts evidenced in the hearing, it did not.

       139.   Further, Defendant breached and/or tolerated Jane and Sue and other

third-party students’ breaches of Skidmore’s confidentiality and retaliation

provisions.

Skidmore’s Breach of Plaintiff’s Contractual Rights Caused Damage

       140.   In committing egregious violations of Plaintiff’s rights during Title IX 1

and Title IX 2 by, among other things, issuing a suspension order and the inherent

racism and/or sexism inherent Skidmore’s actions throughout the Relevant Time

Period, Skidmore violated the policies of the Code and degraded, weakened and

breached the guarantees of due process and fundamental fairness, and the implied

covenant of good faith and fair dealing.

       141.   Skidmore agreed to allow its community members to live in a

discrimination-free and harassment-free environment as stated in its Code, p.3.

       142.   Skidmore committed numerous investigative and procedural missteps

and harbored an overall institutional gender bias against Plaintiff, as a male student,

accused of sexual misconduct during his student conduct proceeding, all of which led

to the erroneous separation order.

       143.   Skidmore’s discrimination of Plaintiff, on the basis of his male gender

and in breach of its own policies, guarantees of due process and fundamental fairness,

and the implied covenant of good faith and fair dealing.

       144.   Most egregiously, Skidmore breached its implied contract with Plaintiff


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in connection with his matriculation in courses for which he paid for and completed

and/or all but completed but for the calamitous events in connection with the two

Title IX procedures occurring in the last phases of his last semester at Skidmore

prior to his graduation. Instead of allowing Plaintiff to complete his classwork,

and/or allowing him to take an incomplete or in any respect allowing him to earn the

credits for his degree, Skidmore’s conduct left Plaintiff with failing marks in courses

for which he sufficiently completed (or was willing and able to sufficiently complete)

all work.

       145.   As a result of the foregoing, Plaintiff is entitled to damages in an amount

to be determined at trial, plus prejudgment interest, attorneys’ fees, expenses, costs

and disbursements.


                                    PRAYER FOR RELIEF

              WHEREFORE, Plaintiff Plaintiff demands the following relief against

Defendant Skidmore College:

       a.     An award of compensatory damages in an amount to be determined at

              trial, including, without limitation, damages to physical well-being,

              emotional distress, economic injuries, and other direct and consequential

              damages, plus prejudgment interest, attorneys’ fees, expenses, costs and

              disbursements;

       b.     If warranted by the evidence, punitive damages;

       c.     An injunction prohibiting Skidmore College from taking any further action

              against Plaintiff with regard to the events described herein;

       d.     An expungement of all records in Plaintiff’s academic file in connection

              with Title IX 1 and Title IX 2;


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      e.    Attorney’s fees and costs pursuant to Title IX, Title VI and 42 USCS §

            1988;

      f.    For such other and further relief as this Court may deem appropriate and

            equitable, including injunctive and declaratory relief as may be required in

            the interest of justice.

Dated: New York, New York
       January 2, 2020




                                       THE KAPLAN LAW OFFICE
                                       /s/
                                  ___________________________________

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